                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE

UNITED STATES OF AMERICA,                               )
                                                        )
                        Plaintiff,                      )
                                                        )
v.                                                      )               No. 3:04-CR-106
                                                        )               (PHILLIPS)
                                                        )
CHARLES E. STEVENS,                                     )
                                                        )
                        Defendant.                      )


                                               ORDER

                This matter came before the court regarding the parties joint oral motion to

continue. In support of their motion, counsel represents that Defendant Stevens and the

Government have been involved in plea discussions and have signed a plea agreement; the

defendant has a drug-related issue; and the granting of a continuance of this case outweigh the

defendant’s and the public’s interest in a speedy trial.

        After carefully considering the position of the parties and after reviewing the entire file,

the court finds that the motion for continuance is well taken. Accordingly, the trial of this case is

CONTINUED for Defendant Stevens until July 7, 2005 and/or for a change of plea hearing.              In

taking this action, the court finds that the ends of justice served by doing so outweigh the best

interests of the public and this defendant in a speedy trial. See 18 U.S.C. Section 3161(h)(8)(A).

In particular, the court finds that the failure to grant a continuance of this length would likely

result in a miscarriage of justice if defense counsel is not given adequate time to explore plea

negotiations, after he further investigates this case, before trial. Id. Finally, the court finds that

the failure to grant a continuance of this duration would deny counsel for the defendant the




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reasonable time necessary for effective preparation, taking into account the exercise of due

diligence, if all these matters are not concluded well in advance of trial. Id Section

3161(h)(8)(B)(iv).

       Thus, the court finds that the time period from the previous trial date (June 7, 2005) to

the new trial date/change of plea date (July 7, 2005) is fully excludable pursuant to the Speedy

Trial Act.


                                                      ENTER:



                                                         s/ Thomas W. Phillips
                                                      UNITED STATES DISTRICT JUDGE




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